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IN THE UNITED sTATEs DIsTRIcT cou'R'r "- `“'C'
FoR THE wEsTERN DISTRICT oF TENNESSEE 95 JUH 2 PH `
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121 §;.- .§ L').`?;>.Uri).* ,":`;"'l"~:;@
RORY ALLLEN GREGQRY, 'D' O*“ *N. if_--'l;":~us

Plaintiff ,

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No. 04-2628 MaV

GARY AARON, et al.,

v~_¢`.¢\_d

Defendant.

 

COMBINED ORDER GR,ANTING DEFENDANTS’ MO'I'ION FOR PROTECTIVE ORDER
(Doc. No. 27)
and
ORDER DENYING PLAINTIFF'S MOTION TO COMPEL AS MOOT
(Doc. No. 31)
and
ORDER DEN'YING PLAINTIFF'S MOTION FOR APPOINTMENT OF PERSON BEFORE
WHOM DEPOSITION MAY BE TAKEN AS MOOT
(Doc. No. 35)

 

Before the court is the May 2, 2005 motion of the defendants,
Gary Aaron, Joyce Andersonl and Nahem Naimey, pursuant to Federal
Rule of Civil Procedure 26(c)(1) for a protective order relieving
them from the obligation of responding to the plaintiff's discovery
requests. The motion has been referred to the United States
Magistrate Judge for determination. For the following reasons, the
motion for protective order is granted. In accordance with this
order, plaintiff's motion to compel defendant Anderson to comply
with the scheduling order is denied as moot. Furthermore,

plaintiff's motion for appointment of person before whom deposi

  

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may be taken is denied as moot.
BACKGROUND

On August 9, 2004, the plaintiff, Rory Allen Gregory, filed a
pro se complaint pursuant to Bivens v. Six Unknown Fed. Narcotics
Agents, 403 U.S. 388 (1971). The defendants moved for dismissal of
the lawsuit on February 14, 2005, and the motion is still pending.
On April 8, 2005, Gregory served interrogatories and requests for
production of documents on Anderson. On April 14, 2005, Anderson
filed a motion for protective order claiming that she should not
have to respond to discovery requests in part because she had
asserted the defense of qualified immunity in the motion to
dismiss. The court denied the motion without prejudice on May 9,
2005, allowing Anderson the opportunity to renew her motion with
citation to legal authority that supports her position that
discovery should not be had until after the court has ruled on the
motion to dismiss and/or resolved the issue of qualified immunity.

On May 2, 2005, the remaining defendants, including Anderson,
filed the present motion for protective order asserting in
substance the same arguments that Anderson had made in her motion
for protective order. The renewed motion, however, cites legal
authority that supports the position that discovery should not be
had until the question of qualified immunity has been determined.

Gregory has not filed a response to this motion and the time for

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responding has expired.
ANALYSIS

Pursuant to Local Rule 7.2(a)(2), responses to motions in
civil cases are to be filed within fifteen days after service of
the motion. Gregory has not filed a response to this motion, and
the time for responding has now expired. Rule 7.2(a)(2) further
provides that “[f]ailure to respond timely to any motion, other
than one for requesting dismissal of a claim or action, may be
deemed good grounds for granting the motion." In the absence of
any response by Gregory, the defendants' motion for protective
order is granted.

Alternatively, the protective order should be granted based on
the merits of the nmtion. Pursuant to Federal Rule of Civil
Procedure 26(c), a court may, at its discretion, enter any order
that justice requires to protect a party or person from annoyance,
embarrassment, oppression, or undue burden or expense. Rolex Watch
U.S.A., Inc., v. Crowley, 74 F.3d 716, 721-22 (Gth Cir. 1996). In
the case where a defendant has asserted. a qualified immunity
defense, the Sixth Circuit has explicitly held that discovery
should not proceed until the court has disposed of the qualified
immunity issue. Wallin v. Norman, 317 F.3d 558 (6th Cir. 2003);
Skousen v. Brighton High School, 305 F.3d 520 (Gth Cir. 2002).

The scope of protection afforded by the qualified immunity

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doctrine was discussed by the Supreme Court in Behrens v.

Pelletier, 516 U.S.299 (1996). The Court stated:

[T]he defense is meant to give government officials a

right, not merely to avoid ‘standing trial,' but also to

avoid the burdens of ‘such pretrial matters as discovery

. . ., as ‘[i]nquiries of this kind can be peculiarly

disruptive of effective government.

Behrens, U.S. at 308 (quoting Mitchell v. Forsyth, 472 U.S. 511
(1985)). To avoid harassing pre-trial litigation, which
necessarily includes the time and expense associated with
discovery, “the determination of qualified immunity'must be made at
an early stage in the litigation." Vaughn v. United States Small
Business Administration, 65 F.3d 1322 (6th Cir. 1995).

Indeed, the Supreme Court has held that “[u]ntil this
threshold immunity question is resolvedl discovery should not be
allowed.” Harlow v. Fitzgerald, 457 U.S. 800 (1982). The Court
has noted that an early ruling on qualified immunity is essential
to protect the government from the burden of needless litigation:

Decision of this purely legal question permits courts

expeditiously to weed out suits which fail the test

without requiring a defendant who rightly claims
qualified immunity to engage in expensive and time
consuming preparation to defend the suit on its merits.

One of the purposes of immunity, absolute or qualified,

is to spare a defendant not only unwarranted liability,

but unwarranted demands customarily imposed upon those

defending a long drawn out lawsuit.

Siegert v. Gilley, 500 U.S. 226 (1991). Thus, discovery may only

proceed on a determination that a defendant does not satisfy the

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criteria for asserting the qualified immunity defense.

In this case, there is a motion to dismiss. or alternatively,
a motion for summary judgment pending. The defendants have
asserted in their‘ motion to dismiss and through supplemental
pleadings that they should. be immune from\ suit based on the
qualified immunity doctrine. Pursuant to existing law, the
defendants contend that they should be shielded from the burden of
pre-trial discovery until their assertion of qualified immunity has
been determined by the court.

The court agrees with the defendants' position. Accordingly,
discovery will commence only upon the finding that the defendants
are not immune from suit based on the qualified immunity doctrine.

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In this case, the defendants have relied upon the defense of
qualified immunity in their pending motion to dismiss. In
accordance with prevailing law, discovery shall not proceed until
the court determines whether the defendants assertion of qualified
immunity is valid.

Subsequent to the filing of this motion. Gregory filed a
motion to compel Anderson to respond to interrogatories served on
April 8, 2005, (Doc No. 31). Also, Gregory filed a motion for
appointment of a person before whom deposition may be taken, (Doc.

No. 35). As these motions pertain to discovery, they are rendered

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moot in accordance with the court’s ruling that discovery shall be
stayed until the court has made an inquiry into the defendant's
claim of qualified immunity.

IT IS SO ORDERED this 27th day Of June, 2005.

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DIANE K. VESCOVO
U'NITED STATES MAGISTRATE JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:04-CV-02628 Was distributed by faX, mail, or direct printing on
June 29, 2005 to the parties listed.

 

Rory Allen Gregory
FCI-l\/[El\/[PH[S
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Honorable Samuel Mays
US DISTRICT COURT

